                                                                                                                                                        TDW
                                          IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                                                                          )
                                                                                )
ABEL GOMEZ CAMACHO
1076 ROCK CHURCH RD                                                             )                            CASE NO. 19-03920-CW3-13
DICKSON, TN 37055                                                               )                            JUDGE CHARLES M WALKER
                                                                                )
                                                                                )
SSN XXX-XX-4690


THE DEADLINE FOR FILING A TIMELY RESPONSE IS 10/23/2019.
IF A RESPONSE IS TIMELY FILED THE HEARING DATE WILL BE: 11/20/2019 AT 8:30 AM CUSTOMS HOUSE, COURTROOM 1, 701
BROADWAY, 2ND FL, NASHVILLE, TN , 37203.

                                                NOTICE OF MOTION TO DISALLOW CLAIM OF
                  PROSPER MARKETPLACE INC (PAYEE PROSPER MARKETPLACE INC) COURT'S CLAIM #20
     Henry E. Hildebrand, III, Chapter 13 Trustee, has asked the court for the following relief: Motion to Disallow Claim of PROSPER
MARKETPLACE INC (PAYEE PROSPER MARKETPLACE INC).
     YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion or if you want the court to consider your views on
the motion, then on or before the response date stated above, you or your attorney must:

1. File with the court your response or objection explaining your position. Please note: the Bankruptcy Court for the Middle District of Tennessee requires
electronic filing. Any response objection you wish to file must be submitted electronically. To file electronically, you or your attorney must go to the court
website and follow the instructions at: https://ecf.tnmb.uscourts.gov.

 If you need assistance with Electronic Case Filing you may call the Bankruptcy Court at (615)736-5584. The Bankruptcy Court may be visited in person at:
 US Bankruptcy Court, 701 Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M.- 4:00 P.M.).

2. Your response must state the deadline for filing response, the date of the scheduled hearing, and the motion to which you are responding .


          If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated above. THERE WILL BE NO
FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response has been filed by calling the Clerk's office at 615-736-5584. If
you received this notice by mail, you may have three additional days in which to file a timely response under Rule 9006(f) of the Federal Rules of Bankruptcy
Procedure.
          If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the motion and may enter an order
granting that relief.
                                                                                                    /s/ Henry E. Hildebrand, III
                                                                                                    HENRY E. HILDEBRAND, III
                                                                                                    CHAPTER 13 TRUSTEE
                                                                                                    P O BOX 340019
                                                                                                    NASHVILLE, TN 37203
                                                                                                    PHONE: 615-244-1101
                                                                                                    FAX: 615-242-3241
                                                                                                    pleadings@ch13nsh.com




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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                                                             )
                                                                   )
ABEL GOMEZ CAMACHO                                                 )                  CASE NO. 19-03920-CW3-13
1076 ROCK CHURCH RD                                                )                  JUDGE CHARLES M WALKER
DICKSON, TN 37055                                                  )
                                                                   )
SSN XXX-XX-4690

                                              MOTION TO DISALLOW CLAIM OF
          PROSPER MARKETPLACE INC (PAYEE PROSPER MARKETPLACE INC) COURT'S CLAIM #20
              Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of Tennessee ("Trustee") ,
respectfully requests this Court disallow the proof of claim asserted on behalf of PROSPER MARKETPLACE INC (payee
PROSPER MARKETPLACE INC), in the amount of $4,413.67 filed as claim #20 on the Court's claims register . In support thereof,
the Trustee would state as follows:
Duplicate claim. The Trustee would state that the proof of claim filed by PROSPER MARKETPLACE INC (Payee PROSPER
MARKETPLACE INC) is a duplicate of Court Claim #12 on the Court's Claims Register .
        WHEREFORE, the premises considered, the Trustee requests that this court disallow the claim of PROSPER MARKETPLACE INC ,
payee PROSPER MARKETPLACE INC, filed as claim #20 on the Court’s claims register .


                                                                               Respectfully submitted,
                                                                               /s/ Henry E. Hildebrand, III
                                                                               HENRY E. HILDEBRAND, III
                                                                               CHAPTER 13 TRUSTEE
                                                                               P O BOX 340019
                                                                               NASHVILLE, TN 37203
                                                                               PHONE: 615-244-1101
                                                                               FAX: 615-242-3241
                                                                               pleadings@ch13nsh.com


     I hereby certify that a true and correct copy of the foregoing has been served by US Postal Service , postage prepaid on ABEL GOMEZ
CAMACHO, 1076 Rock Church Rd, Dickson, TN 37055; and
PROSPER MARKETPLACE INC WEINSTEIN AND RILEY PS, P O BOX 3978, SEATTLE, WA 98124;
PROSPER MARKETPLACE INC WEINSTEIN AND RILEY, 2001 WESTERN AVE STE 400, SEATTLE, WA 98121;
PROSPER MARKETPLACE, 221 MAIN ST FL 3, SAN FRANCISCO CA 94105;
PROSPER MARKETPLACE, c/o CORPORATION SERVICE COMPANY, 2908 POSTON AVE, NASHVILLE TN 37203;
WEINSTEIN AND RILEY PS, c/o ELIZABETH PARROTT, 701 BROADWAY STE B, NASHVILLE TN 37203;

and through email by Electronic Case Noticing to US Trustee , and GREGORY R ATWOOD, Debtor's counsel

on this 23rd day of September, 2019.


                                                                               /s/ Henry E. Hildebrand, III
                                                                               HENRY E. HILDEBRAND, III
                                                                               Chapter 13 Trustee




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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                                                                     )
                                                                           )
ABEL GOMEZ CAMACHO
                                                                           )                  CASE NO. 19-03920-CW3-13
1076 ROCK CHURCH RD
                                                                           )
DICKSON, TN 37055                                                                             JUDGE CHARLES M WALKER
                                                                           )
                                                                           )
SSN XXX-XX-4690


                                                   ORDER TO DISALLOW CLAIM OF
           PROSPER MARKETPLACE INC (PAYEE PROSPER MARKETPLACE INC) COURT'S CLAIM #20

          It appearing to the Court, based upon the certification of the Trustee , as indicated by his electronic signature below , that the Trustee
has filed a motion seeking to disallow the claim of the below-listed creditor due to:

The claim is a duplicate of a previously filed Court's claim #12;

that the Trustee has served notice of the motion on the claimant , the debtor and debtor's counsel, providing them the opportunity to object to the
motion; and that the Trustee has received no objection to the motion as required by Rule 9014-1 of the Local Rules of the Bankruptcy Court for
the Middle District of Tennessee, it is therefore

ORDERED, that the claim asserted by the creditor below is disallowed .


              Creditor Name: PROSPER MARKETPLACE INC (payee PROSPER MARKETPLACE INC)
              Court’s Claim Number: 20
              Account Number: xxxxxxxx0260



APPROVED FOR ENTRY:
/s/ Henry E. Hildebrand, III                                                                  THIS ORDER WAS SIGNED AND ENTERED
HENRY E. HILDEBRAND, III                                                                      ELECTRONICALLY AS INDICATED AT THE
CHAPTER 13 TRUSTEE                                                                            TOP OF THE FIRST PAGE.
P O BOX 340019
NASHVILLE, TN 37203
PHONE: 615-244-1101
FAX: 615-242-3241
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